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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                             Northern Division at Covington

Maria McLean

     Plaintiff / Petitioner,                           CASE NO.       2 : 19 - CV - 172-DLB-CJS

V.

Thomas More University
     Defendant(s) / Respondent.




                                                E
                       MOTION FOR _________________________



                               PL
      [Explain here what you want the Court to do. State the facts - what happened,

who was involved, when and where did this occur. Provide relevant law if you know it.]
              M
      Signature:          __________________________                Date: _________
      Name (print):
      Address:
      City/State/Zip
      Phone No.
SA

      Inmate No.:


                               CERTIFICATE OF SERVICE

       I, [your name], certify that on [date] I sent a complete and accurate copy of this
[name of document] by United States mail to every other party or their attorneys listed
below:

[list names and addresses of every defendant or their attorney]

      Signature:          __________________________                Date: _________
